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                        IN UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF FLORIDA

 ATLANTIC WINDOW CLEANING, INC,

        Plaintiff,
 vs.                                                    Case No.: 22-60409-CIV-SMITH

 RACHEL EULER, et al,

       Defendants.
 _________________________________/

       SECOND STATUS REPORT REGARDING BANKRUPTCY PROCEEDINGS

        Per this Court's Order Staying Case as to Rachel Euler and Sabrina’s Atlantic Window

 Cleaning and Pressure Washing, Inc. (Doc. 35), this Second Status Report serves to provide this

 Court with the status of the bankruptcy proceedings.

        The Bankruptcy of Sabrina’s Atlantic Window Cleaning and Pressure Cleaning, LLC is

 the lead case, and the matter of Rachel Ann Euler is being jointly administered. The bankruptcies

 were settled at the settlement conference held on June 26, 2023. A settlement agreement is in

 process. As of the date of filing this Report, the bankruptcy cases remain pending, and the

 automatic stay remains in effect.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on counsel
 for Plaintiff via the electronic filing portal on July 17, 2023.

                               Respectfully submitted,

                              /s/ Jamie L. White
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